            Case 2:19-cr-00658-KM Document
                             UNITED STATES4DISTRICT
                                            Filed 07/12/18
                                                      COURTPage 1 of 1 PageID: 7
                                        DISTRICT Of NEW JERSEY


                                MAGISTRATE’S COURTROOM MINUTES

UNITED STATES OF AMERICA                                 MAGISTRATE JUDGE:      James B. Clark

                                                         MAGISTRATE NO.:           18-mi-4125-MAH-1
            V.

DARRYL DANCY                                             DATE OF PROCEEDINGS:       7/12/2018

                                                         DATE OF ARREST:      7/12/201 S


PROCEEDINGS:        Initial Appeaance

(%OMPLAINT                                               ( )EMPORARY COMMITMENT
(‘.4 ADVISED OF RIGHTS                                   (v”CONSENT TO DETENTION WITH RIGHT TO MAKE A
( ) WAIVER OF COUNSEL                                        BAIL APPLICATION AT A LATER TIME
( ) PPT. OF COUNSEL: AFPD           CIA
                                     —
                                                         ( ) BAIL DENIED DEFENDANT REMANDED TO CUSTODY
                                                                       -




(\4’WMVER OF HRG.:        PRELIM     REMOVAL
                                        —
                                                         ( )BAILSET:
( ) CONSENT TO MAGISTRATE’S JURISDICTION                        ( ) UNSECURED BOND
( ) PLEA ENTERED:       GUILTY
                        —          NOT GUILTY                   ( ) SURETY BOND SECURED BY CASH / PROPERTY
( )  PLEA AGREEMENT                                      ( ) TRAVEL RESTRICTED
( )RULE11fORM                                            ( ) REPORT TO PRETRIAL SERVICES
( ) FINANCIAL AFFIDAVIT EXECUTED                         ( ) DRUG TESTING AND/OR TREATMENT
( ) OTHER                                                ( ) MENTAL HEALTH TESTING AND/OR TREATMENT
                                                         ( ) SURRENDER &/OR OBTAIN NO PASSPORT
                                                         ( ) SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                             ADDITIONAL CONDITIONS

HEARING(S) SET FOR:

( ) PRELIMINARY / REMOVAL HRG.                              DATE:
( ) DETENTION / BAIL HRG.                                   DATE:
( ) TRIAL:  —  COURT      JURY
                            —                               DATE:
( ) SENTENCING                                              DATE:
( )OTHER:                                                   DATE:




APPEARANCES:

AUSA               Jonathan Romankow, AUSA (Naazneen Khan covering)

DEFT. COUNSEL      Martin Goldman. Retained

PROBATION   —




INTERPRETER
         1. Language:   (                     )

Time Commenced:      4:29 PM
Time Terminated:     4:35 PM
CDNo:                ECR


                                                                             DEPUTY CLERK
